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UNITED STATES DISTRICT COURT JUN 0 5 ?U.§§j
SOUTHERN DISTRICT OF INDIANA ` *" §
TERRE HAUTE DIVISION U_S_ CLER§<»§ gingch
7 , lND|AN!-\PG§JS, §§`“EDJANA
UNITED STATES OF AMERICA, )
- )
Plaint_iff, ) ‘ g
t ) 2 13-cr- 17 W'[`L -CM
v. ) Cause No.
)
RICHARD S. TRELOAR and ) - -01
MARK W. COLLIER, ) -02
~ )
Defendants. )`
INDICTMENT
The Grand Jury charges that:
Background
1. . The Defense Logistics Agency is a department of the United States Department of

Defense (DOD) that, among other things, oversees the demilitarization of military equipment

2. A High Mobility Multipurpose Wheeled Vehicle (HMMWV), commonly known
as a “Humvee” is a four-wheel drive military light truck capable of being outfitted with armor,
ballistic glass, and high-powered weapons, and is currently being used in the Iraq and
Afghanistan theatres.

3. According to the Department of Defense Instruction 4160.28, DoD
Dernilitarization Program, “demilitarization” means the act of eliminating the functional
capabilities and inherent military design features from DoD personal property. Methods and degree
range from removal and destruction of critical features to total destruction by cutting, crushing,
shredding, melting, and burning. Demilitarization is required to prevent property from being used for
its original intended purpose and to prevent the release of inherent design information that could be

used against the United States.

 

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4. Treloar Enterprises lntemational, Inc. (TEI), is a company based in St. Louis,
MO, which contracted with the Defense Logistics Agency to demilitarize military vehicles,
mostly consisting of HMMWVs.

5. Richard S. Treloar was at all times material to this Indictment the owner of TEI.

6. Mark W. Collier was at all times material to this Indictment a representative of
n the United States Govemment who certified that all HMMWVs material to this Indictment were
demilitarized in his presence.

General Allegations

7. TEI was awarded contract number 008694730 by the Defense Logistics Agency
on December 31, 2013. Per the contract, TEI would purchase an estimated 27,000,000 pounds of
metal for $.08/pound. As a precondition of sale, TEI was required to demilitarize every vehicle
received. This consisted of,~ inter alia, melting down all armored portions of each vehicle. The
primary vehicles in this contract were HMMWVS.

8. Per the contract, the HMMWVs purchased by TEI were to “be completely
demilitarized to prevent reuse, recognition, or reconstruction. . .” Further, a government verifier
was to be onsite to verify the demilitarization of all vehicles,

9.' The contract was active from January 2014 through November 2015. TEI took
- delivery of all HMMWVs from Naval Support Activity Crane (Crane), Which is located in
l\/Iartin, Greene, and Lawrence Counties, within the Southern District of Indiana. -To facilitate
the contract, TEI opened a facility in Spencer, Indiana, within the Southern District of Indiana,

where the purported demilitarization occurred.

10. TRELOAR converted at least seven fully armored HMMWVs to his own use and

sold or attempted to sell the same for his own benefit. The value of these HMMWVs was

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$5 89,601. TRELOAR and COLLIER certified that each and every HMMWV was demilitarized,

when in fact they were not.

Counts One Through Seven
Conversion of Govemment Prope;ty ~
18 U.S.C. § 641

11. Paragraphs One through Ten are incorporated as if fully restated herein.

12. On or about the dates listed in the table below each one being a separate count of this
Indictment, in the Southern District of Indiana, the defendant, RICHARD S. TRELOAR, did
knowingly convert to his own use, or without authority sell, a thing of value belonging to the llnited

States, to wit, fully armored High Mobility Multipurpose Wheeled Vehicles, each one having a

value in excess of $1,000. `

 

Count Date Item of Govemment ` _ Value

' Property

1 July 23, 2015 Black M-1123 HMMWV $126,665
DTID: V4789843257157 ` '

SN: 208020

2 September 3, 2015 Multicolored M-l 123 $60,409

HMMWV

DTID:

MMV1233115E090

SN: l 82132 y

3 September 4, 2015 Green M-1043 HMMWV $77,522

DTID: SY23144255D015

SN: 218176

4 September 4, 2015 Multicolored M-1043 $77,522

HMMWV

DTID: SY23144255D021

SN: 223 686

5 September 3, 2015 Multicolored M-1123 $60,409

HMMWV

DTIC:

W12L3Z42598002G

SN: 200349

6 September 3, 2015 Multicolored M-1123 $60,409

HMMWV

DTID:

MMV33332620003

SN: 225248

 

 

 

 

 

 

 

 

 

 

 

 

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Between January
2014 through
November 2015, the
exact date being
unknown.

 

Multicolored M-l 123
HMMWV

DTID: Unknown

SN: Unknown

 

$126,665

 

 

All in violation of Title 18, United States Code, Section 641.

13.

14.

Indictment, in the Southern District of Indiana, the defendants, RICHARD S. TRELOAR and MARK
W. COLLIER, did, in a matter within the jurisdiction of the United States Department of Defense, a
1 component of the Executive Branch of the Govemment of the United States, knowingly and willfully

used a materially false document, knowing that said document contained a materially false, fictitious,

Counts Eight Through Fourteen
False Statements

18 U;s.C. § 1001

Paragraphs One through Twelve are incorporated as if fully restated herein.

On or about the dates listed in the table below each one being a separate count of this

orfraudulent statement or entry. Speciiically, that the HMMWV described herein had been

 

 

 

 

 

 

 

demilitarized:
Count Date HMMWV

8 July 23, 2015 A Black M-1123 HMMWV
DTID: V4789843257157
SN: 208020

9 September 3, 2015 A Multicolored M-1123 HMMWV
DTID: MMVl233115E090
SN: l 821 32

10 September 4, 2015 A Green M- l 043 HMMWV
DTID: SY23144255D015
SN: 21 8176

11 ` September 4, 2015 A Multicolored M-1043 HMMWV
DTID: SY23144255D021
SN: 223686

12 September 3, 2015 A Multicolored M-1123 HMMWV
DTIC: W12L3Z42598002G
SN: 200349

13 September 3, 2015 A Multicolored M-1123 Hl\/HV[WV

 

 

 

DTID: MMV33332620003

 

 

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SN: 225248

14 Between January A Multicolored M-1123 HMMWV
2014 through DTID: Unknown

l November 2015, the SN: Unknown

exact date being
unknown.

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1001(a)(3).
FORFEITURE
Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby gives the

defendants notice that the United States will seek forfeiture of property, criminally and/or civilly,

 

pursuant to 18 U.S.C. § 1956(a)(7)(D), 18 U.S.C. § 982(a)(3) and Title 28, United States Code, 1
Section 2461(c), as part of any sentence imposed.

15. \ Pursuant to 18 U.S.C. § 1956(a)(7)(D), 18 U.S.C. § 982(a)(3), if convicted of any
of the offenses set forth in ,Counts 1-14 of this Indictment, the defendants shall forfeit to the
United States:

a. _Any property, real or personal, constituting or derived from

proceeds the defendant obtained directly or indirectly as the result of the offense

 

of which he is convicted; or
b. v A sum of money equal to the total amount of the proceeds of the
offenses.
16. The United States will show that the total amount of proceeds obtained by the
defendant as a result of the criminal activity herein is $589,601.00.
17. The United States shall be entitled to forfeiture of substitute property pursuant to

Title 21 , United States Code, Section 853(p), and as incorporated by Title 28, United States

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Code, Section 246l(c), if any of the property described above in paragraph fifteen, as a result of
any act or omission of the defendant

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
. e. has been commingled with other property which cannot be divided
without difnculty.

18. In addition, the United States may seek civil forfeiture of the property described
above in paragraph fifteen pursuant to 21 U.S.C. § 881(a)(6), and pursuant to Title 28, United

States Code, Section 2461 (c).
A TRUE BILL:

FOREPERSON

JOSH J. MINKLER
United States Attomey

UMhepmd

Assistant United States Attomey .

